22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 1
                                      of 37




                                EXHIBIT B (contd.)

                         Copy of All Filings with State Court
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 2
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 3
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 4
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 5
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 6
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 7
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 8
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 9
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 10
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 11
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 12
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 13
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 14
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 15
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 16
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 17
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 18
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 19
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 20
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 21
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 22
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 23
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 24
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 25
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 26
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 27
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 28
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 29
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 30
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 31
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 32
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 33
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 34
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 35
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 36
                                      of 37
22-01023-tmd Doc#1-22 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 37
                                      of 37
